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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   CITIZENS PROJECT, COLORADO
   LATINOS VOTE, LEAGUE OF WOMEN
   VOTERS OF THE PIKES PEAK REGION,
   and BLACK/LATINO LEADERSHIP
   COALITION,

                  Plaintiffs,

   v.                                                         No. 22-cv-1365-SKC-MDB

   CITY OF COLORADO SPRINGS, and
   SARAH BALL JOHNSON, in her official
   capacity as City Clerk,

                  Defendants.


                  NOTICE REGARDING LAW STUDENT APPEARANCES

         Plaintiffs Citizens Project, Colorado Latinos Vote, League of Women Voters of the Pikes

  Peak Region, and Black/Latino Leadership Coalition respectfully submit this notice to alert the

  Court to a change in attorney supervision of students. Attorney Theresa J. Lee recently left the

  Harvard Election Law Clinic to join the American Civil Liberties Union. ECF No. 83. As a

  result, attorney Daniel Hessel will be supervising law students who have appeared in this case

  with the Court’s permission.

         Plaintiffs have filed updated Law Student Appearance Forms for Melissa Cordial and

  Jacqueline Landry. ECF Nos. 84, 85. The Court previously approved the appearances of Ms.

  Cordial and Ms. Landry, with Ms. Lee as supervising attorney. ECF Nos. 81, 82. Plaintiffs

  respectfully request that the Court approve the updated appearance forms with Mr. Hessel as

  supervising attorney.




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         Plaintiffs have also filed a Law Student Appearance Form for Rachel Simon, who had not

  previously appeared. ECF No. 86.

         Finally, Plaintiffs respectfully withdraw the appearances of Lucas Rodriguez, ECF No.

  80, and Morgan Hurst, ECF No. 74, who are no longer students in the Election Law Clinic.



   Dated: June 20, 2024                             Respectfully submitted,

                                                    /s/ Daniel Hessel
                                                    Daniel Hessel
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                                 CERTIFICATE OF SERVICE

         I, Daniel Hessel, hereby certify that the forgoing Notice Regarding Law Student

  Appearances was served upon all counsel of record in this case via ECF.

                                                     /s/ Daniel Hessel




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